United States District Court
District of Massachusetts

 

United States of America,

Vv.
Criminal Action No.

Arthur Gianelli, 05-10003-NMG-1

Defendant.

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MEMORANDUM & ORDER
GORTON, J.

In light of the COVID-19 pandemic, defendant Arthur
Gianelli (“Gianelli” or “defendant”) moves for reconsideration
of this Court’s prior denials of his motions for compassionate
release pursuant to 18 U.S.C. § 3582(c) (1) (A). (See Docket Nos.
1053 & 1065). He is currently incarcerated at FCI Fort Dix in
New Jersey (“Fort Dix”) having been convicted of and sentenced
for operating an extensive racketeering enterprise involved in
illegal gambling, loansharking, money laundering, extortion and
arson. His projected date of release is October 16, 2024.

I. Background

In early December, 2020, Gianelli filed with this Court a
motion for compassionate release seeking to replace the
remainder of his lengthy sentence with home confinement. He
asserted, inter alia, that he is especially vulnerable to
contracting a severe case of COVID-19 due to his age (63) and

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his family history of diabetes, although he has never been
diagnosed with the disease. This Court denied the motion
without prejudice because Gianelli had failed to exhaust his
administrative remedies. It also noted that the defendant had
not shown that he suffers from any condition which would place
him at an increased risk of severe illness due to COVID-19, nor,
indeed, from any relevant medical condition.

Later that month, Gianelli tested positive for COVID-19 and
was subsequently quarantined in an isolation unit pursuant to
Fort Dix protocol. For those reasons, defense counsel filed a
renewed motion for compassionate release in January, 2021.

After holding a hearing on the matter to learn more about the
physical condition of defendant and the situation at Fort Dix,
this Court denied the renewed motion because Gianelli appeared
to be receiving adequate medical care and was recovering without
any serious complication.

In March, 2021, defense counsel filed the pending motion
for reconsideration of those previous denials, alleging that
defendant now experiences collateral consequences of COVID-19
and suffers from hypertension which places him at a higher risk
for reinfection. Defendant also contends that the prior
outbreaks of COVID-19 at Fort Dix and the balance of the factors

set forth in 18 U.S.C. § 3553(a) weigh in favor of his release.
The government opposes the motion for several reasons,
including that 1) defendant was offered but refused to accept
the COVID-19 vaccine, 2) the conditions at Fort Dix have
improved substantially and 3) defendant has failed to
demonstrate that the medical treatment he is receiving is, in
any way, inadequate.

II. Motion for Compassionate Release

A. Legal Standard

A court may reduce a defendant’s term of imprisonment
pursuant to 18 U.S.C. § 3582(c) only if, after considering the
factors set forth in § 3553(a), the Court finds that there are
“extraordinary and compelling reasons” warranting such a
reduction. § 3582(c) (1) (A) (i). Such a modification may be made
upon a defendant’s motion only after defendant has fully
exhausted his administrative remedies. § 3582(c)(1) (A). Even if
all other requirements are satisfied, a court should grant a
motion for release only if it determines that the defendant is
no longer a danger to the public. Id.

B. Application

In his third attempt, Gianelli has, yet again, failed to
demonstrate an “extraordinary and compelling” reason warranting
his release. He has already contracted and recovered from
COVID-19 without any serious complication and apparently

continues to receive adequate medical care at Fort Dix relating

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to the purported “collateral consequences” of that infection.
See United States v. Pierre, No. 19-cr-00082, 2020 WL 6785328,
at *6 (E.D. Cal. Nov. 18, 2020) (denying the defendant’s motion
for compassionate release because he recovered from COVID-19
without any complication and failed to show that the prison was
unable to monitor or treat his medical condition).

Defendant insists that the conditions at Fort Dix with
respect to COVID-19 continue to be out of control but there is
no discernable indication that the facility currently poses a
serious threat to prisoner safety. In fact, the Bureau of
Prisons website reports currently that there is only one COVID-
19 positive inmate at Fort Dix.! Moreover,

[t]hat [Fort Dix] has dealt with significant outbreaks in

the past . . . suggests to the Court that its mitigation

efforts have improved over time and that the facility is
safer now than it was before.
United States v. Young, No. 15-cr-10144, 2021 WL 847998, at *3
(D. Mass. Mar. 5, 2021).

Furthermore, the sincerity of defendant’s expressed concern
for his health and risk of reinfection is dubious given that he
rejected the opportunity to receive the COVID-19 vaccine in

March, 2021. See United States v. Greenlaw, No. 18-cr-00098,

2021 WL 1277958, at *6 (D. Me. Apr. 6, 2021) (collecting cases

 

1 See COVID-19 Cases, Federal Bureau of Prisons (last visited
April 8, 2021 at 3:20 P.M.), https: //www.bop.gov/coronavirus/
(reporting one COVID-19 positive inmate at FCI Fort Dix).

 

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of courts holding a defendant’s vaccine refusal against his or
her motion for compassionate release). Although defendant has
the right to refuse medical treatment, this Court will not
reward such refusal to protect himself with a get-out-of-jail

card. See United States v. Zambrano, No. 18-cr-2002, 2021 U.S.

 

Dist. LEXIS 12798, at *5 (N.D. Iowa Jan. 25, 2021) (“It would be
paradoxical to endorse a system whereby a defendant could
manufacture extraordinary and compelling circumstances for
compassionate release by unreasonably refusing the health care
afforded to them.”).
ORDER
For the foregoing reasons, defendant’s motion for

reconsideration (Docket No. 1068) is DENIED without prejudice.

Vb then MWA,

Nathaniel M. Gorton
United States District Judge

So ordered.

Dated April 7 , 2021
